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       District 7

    Population Statistics                      Ethnicity                    Voter Statistics

City of Buffalo                 79,604   White                  28,518   Registered Voters     43,299
Town of Cheektowaga              3,971   % White               34.12%
                                         Black                  44,965   Democrats             33,243
Total Population                83,575   % Black               53.80%    Republicans            3,503
Deviation                           26   American Indian           678   Conservatives            248
% Deviation                    0.00031   % American Indian      0.81%    Working Families         237
                                         Asian                   4,015   Independence           1,028
Age 18+                         60,678   % Asian                4.80%    Green                    103
                                                                         Other                    222
                                         Hispanic Origin         9,238   Blank                  4,715
                                         % Hispanic Origin     11.06%
                                                                         Male                  18,409
                                         Black 18+              30,005   Female                24,890
                                         % Black 18+           49.45%
                                         Hispanic Origin 18+     6,792   Age 18 - 24            5,793
                                         % Hispanic 18+        11.19%    Age 25 - 34            8,334
                                                                         Age 35 - 40            4,386
                                                                         Age 41 - 45            3,780
                                                                         Age 46 - 54            7,693
                                                                         Age 55 - 61            5,157
                                                                         Age 62+                8,156

                                                                         Federal Voters          174
                                                                         Military Voters          74
                                                                         Disabled                429
                                                                         Nursing Home            194

                                                                         Voted 2007 Election   10,462
                                                                         Voted 2009 Election    6,279
